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                                                                                                         Rev. 6/2018


                    UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                             FOR THE DISTRICT OF COLUMBIA
Force, et al.,


_________________________________________
                        Plaintiff(s)

        vs.                                                        Civil Action No.: 16-cv-01468
The Islamic Republic of Iran, et al.,

_________________________________________
                        Defendant(s)


                                AFFIDAVIT REQUESTING FOREIGN MAILING

        I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
default
summons judgment
            and complaint(and notice of suit, where applicable) to (list name(s) and address(es) of defendants):
Syrian Arab Republic
c/o Foreign Ministry Walid al-Mualem
Ministry of Foreign Affairs.
Shora, Muajireen
Damascus, Syria


by: (check one)                ❑✔     certified or registered mail, return receipt requested
                               ❑      DHL
                               ❑      Fed Ex
pursuant to the provisions of: (check one)
                               ❑      FRCP 4(f)(2)(C)(ii)
                               ❑✔     28 U.S.C. § 1608(a)(3)
                               ❑      28 U.S.C. § 1608(b)(3)(B)
                               ❑      28 U.S.C. § 1608(a)(4)

       I certify that this method of service is authorized by the domestic law of (name of country):
 NOT APPLICABLE                                                              , and that I obtained this information
by contacting the Overseas Citizens Services, U.S. Department of State.

                                                                        /s/ Robert J. Tolchin
                                                                              (Signature)
                                                            The Berkman Law Office, LLC
                                                            829 East 15th St.
                                                            Brroklyn, New York 11230
                                                            (718) 855-3627


                                                                         (Name and Address)
